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   11    Attorneys for Plaintiff and Class
   12
                              UNITED STATES DISTRICT COURT
   13
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   14
   15
      KEVIN RISTO, on behalf of himself and       CASE NO. 2:18-CV-07241-CAS-PLA
   16 all others similarly situated,
                                                  CLASS ACTION
   17                Plaintiff,
              v.                                  AMENDED JOINT EXHIBIT LIST
   18
   19 SCREEN           ACTORS           GUILD-    Judge: Hon. Christina A. Snyder
      AMERICAN          FEDERATION          OF    Crtrm.: 8D – 8th Floor
   20 TELEVISION AND RADIO ARTISTS,
      a Delaware corporation; AMERICAN            Trial Date: August 17, 2021
   21 FEDERATION OF MUSICIANS OF
      THE      UNITED        STATES       AND
   22 CANADA, a California nonprofit
      corporation; RAYMOND M. HAIR, JR,
   23 an individual, as Trustee of the AFM and
      SAG-AFTRA Intellectual Property
   24 Rights Distribution Fund; TINO
      GAGLIARDI, an individual, as Trustee
   25 of the AFM and SAG-AFTRA
      Intellectual Property Rights Distribution
   26 Fund;      DUNCAN           CRABTREE-
      IRELAND, an individual, as Trustee of
   27 the AFM and SAG-AFTRA Intellectual
      Property Rights Distribution Fund;
   28 STEFANIE TAUB, an individual, as

                                                                AMENDED JOINT EXHIBIT LIST
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     1 Trustee of the AFM and SAG-AFTRA
       Intellectual Property Rights Distribution
     2 Fund; JON JOYCE, an individual, as
       Trustee of the AFM and SAG-AFTRA
     3 Intellectual Property Rights Distribution
       Fund; BRUCE BOUTON, an individual,
     4 as Trustee of the AFM and SAG-
       AFTRA Intellectual Property Rights
     5 Distribution     Fund;     and      DOE
       DEFENDANTS 1-10,
     6
                     Defendants.
     7
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                                                             AMENDED JOINT EXHIBIT LIST
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     1        Pursuant to Local Rule 16, Plaintiff Kevin Risto and Defendants Screen Actors
     2 Guild-American Federation of Television and Radio Artists, American Federation of
     3 Musicians of the United States and Canada, Raymond M. Hair, Jr, Tino Gagliardi,
     4 Duncan Crabtree-Ireland, Stefanie Taub, Jon Joyce, and Bruce Bouton, as Trustees of
     5 the AFM and SAG-AFTRA Intellectual Property Rights Distribution Fund, hereby
     6 submit the following joint exhibit list.
     7 Statute
     8     NO. OF                DESCRIPTION                   DATE      DATE
          EXHIBIT                                           IDENTIFIED ADMITTED
     9
   10
   11          1.       Copyright Act: 17 U.S.C. Section
                                    114(g)
   12                         DEFS_00041367 -
   13                          DEFS_00041378
                           (2/16 Crabtree-Ireland-8)
   14
   15
         Fund- Related Documents
   16
               2.        Declaration of Trust: AFM and
   17                  AFTRA Intellectual Property Rights
   18                          Distribution Fund
                                   9/16/1998
   19                         DEFS_00000095 -
                               DEFS_00000105
   20                         (Dreith Deposition)
   21          3.      Agreement and Declaration of Trust
   22                                2012
                              DEFS_00041367 -
   23                          DEFS_00041378
                           (2/16 Crabtree-Ireland-1)
   24
               4.          Data Purchase and Services
   25
                         Agreement (executed July 2013)
   26                          DEFS_00000118 -
                                DEFS_00000123
   27                       (2/17 Crabtree-Ireland-2)
   28

                                                  1              AMENDED JOINT EXHIBIT LIST
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     1        5.      AFM & SAG-AFTRA Intellectual
                      Property Rights Distribution Fund
     2                    Conflict of Interest Policy
     3                       WITHUM024542 -
                              WITHUM024546
     4                            (Joyce-7)
     5        6.     AFM and SAG-AFTRA Intellectual
                      Property Rights Distribution Fund
     6
                          Conflict of Interest Policy
     7                            4/21/2014
                             DEFS_00041528 -
     8                        DEFS_00041537
                             (1/20/2021 Taub-2)
     9
              7.     Crabtree-Ireland Conflict of Interest
   10
                                    Policy
   11                       DEFS_00041817A -
                             DEFS_00041822A
   12                     (2/16 Crabtree-Ireland-7)
   13         8.         *Conflict of Interest Policy:
   14                  Acknowledgment and Financial
                        Interest Disclosure Statement
   15                             4/20/2016
                               DEFS 00041548
   16
   17         9.         *Conflict of Interest Policy:
                       Acknowledgment and Financial
   18                   Interest Disclosure Statement
                                  2/27/2017
   19                          DEFS 00041566
   20
              10.     Hair - Conflict of Interest Policy:
   21                 Acknowledgment and Financial
                       Interest Disclosure Statement
   22                        DEFS_00041544 -
                              DEFS_00041545
   23
                             (1/20/2021 Taub-3)
   24
              11.       Crabtree-Ireland - Conflict of
   25                 Interest Policy: Acknowledgment
                      and Financial Interest Disclosure
   26                             Statement
   27                DEFS_00041541, DEFS_00041557
                              - DEFS_00041575
   28                        (1/20/2021 Taub-4)

                                                 2           AMENDED JOINT EXHIBIT LIST
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     1        12.        Dreith Memo: Review and
                      Discussion of Union Service Fees
     2                       DEFS_00040589 -
     3                        DEFS_00040592
                            (Dreith Deposition)
     4
              13.       Introduction Letter RE Dreith
     5                             Memo
                              DEFS_00040593
     6
                             (Dreith Deposition)
     7
              14.    Analysis of significant provisions of
     8                 the Data Purchase and Services
     9                            Agreement
                      DREITH_0027-DREITH_0031
   10                        (Dreith Deposition)
   11         15.     Dreith’s Statement of Conflicts of
                                    Interest
   12                           DRIETH 0065
   13                        (Dreith Deposition)

   14         16.       *Current Trustees & Union
                      Positions or Positions Relating to
   15                              Unions
   16                        DEFS_00042108 -
                              DEFS_00042109
   17                        (Joyce Blondell-5)
   18         17.       *Organization Chart of Film
                        Musicians Secondary Market
   19
                             DEFS_00042137
   20                       (Joyce Blondell-7)
   21         18.    *AFM & SAG-AFTRA Intellectual
   22                 Property Rights Distribution Fund
                                  Org Chart
   23                         DEFS_00042171
                             (Joyce Blondell-12)
   24
              19.     *Fund FY 2017 Current Staff Org
   25                             Chart
   26                        DEFS_00041642
                               (Sandell-1)
   27
   28

                                                 3           AMENDED JOINT EXHIBIT LIST
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     1        20.     *Fund FY 2019 Current Staff Org
                                  Chart
     2                       DEFS_00041645
     3                         (Sandell-2)

     4        21.     AFM & SAG-AFTRA Intellectual
                      Property Rights Distribution Fund
     5                  Sound Recording Distribution
     6                           Guidelines
                              DEFS_00042288 -
     7                        DEFS_00042290
                             (Joyce Blondell-29)
     8
              22.       Sound Recording Distribution
     9
                                Guidelines
   10                        DEFS_00000086
   11         23.    LexisNexis Subscription Agreement
                       for Corporate Legal for AFM &
   12                SAG-AFTRA Intellectual Property
   13                      Rights Distribution Fund
                              DEFS_00042333 -
   14                         DEFS_00042337
                             (Joyce Blondell-33)
   15
              24.    AFM & SAG-AFTRA Intellectual
   16
                     Property Rights Distribution Fund,
   17                   Summer 2014 Status Report
                             DEFS_00042277 -
   18                        DEFS_00042287
                            (Joyce Blondell-28)
   19
   20         25.     Phonograph Recording Contract
                     American Federation of Musicians
   21                          7/13/2019
                           DEFS_00041834 -
   22                       DEFS_00041851
   23                      (Dreith Deposition)

   24         26.      WIPO Conference: The Global
                          Digital Content Market
   25                       DEFS_00041708
   26
   27 / / /
   28 / / /

                                               4             AMENDED JOINT EXHIBIT LIST
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     1        27.     Standing Committee on Copyright
                             and Related Rights
     2                           7/11/2016
     3                        DEFS_00041713
              28.     102nd FIM EC Meeting – Rome,
     4
                         June 12-13, 2014 DRAFT
     5                          AGENDA
                             DEFS_00041718
     6
              29.    FIM Presidium Meeting Paris 21-22
     7                  Nov. 2016 Proposed Agenda
     8                       DEFS_00041734
              30.    FIM Presidium Meeting NYC 13-14
     9
                        Mar. 2017 Proposed Agenda
   10                        DEFS_00041736
   11         31.    The Economy of Streaming Media
   12                       DEFS_00041740

   13         32.    Authors, Attribution, and Integrity:
                      Examining Moral Rights in the
   14                          United States
                                  4/5/2016
   15                        DEFS_00041973
   16
              33.    Roundtable: Copyright’s Republic:
   17                 The Contribution of Copyright to
                       Culture, Freedom, and Human
   18                            Flourishing
   19                        DEFS_00041986

   20         34.    World Creators Summit 2013 4 & 5
                         June 2013 Speaker’s brief
   21                        DEFS_00041992
   22         35.    World Creators Summit June 4 & 5
   23                      Conference Program
                            DEFS_00041996
   24
              36.    Roundtable: Copyright’s Republic:
   25                 The Contribution of Copyright to
   26                  Culture, Freedom, and Human
                       Flourishing, Meeting Logistics
   27                         DEFS_00041983
   28

                                                5            AMENDED JOINT EXHIBIT LIST
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     1        37.     AFM Report Form – Phonograph
                     Records, Soundtrack Release, Video
     2                            Promos
     3                       DEFS_00027616 -
                              DEFS_00027623
     4                          (Painting-3)
     5        38.       *Trustee Travel 2013-Present
                                (Excel Sheet)
     6
                              DEFS_00041637
     7                      (1/20/2021 Taub-11)
     8        39.      *AFM & SAG-AFTRA Fund:
     9               Advertising & Marketing – AFM &
                     SAG-AFTRA payments 01/01/2013
   10                           – 10/13/2020
                              DEFS_00041588
   11                       (1/20/2021 Taub-12)
   12         40.    *Risto Fund Participant Information
   13                              Form
                         PLTF_0003 – PLTF_0005
   14
              41.    *Risto Checks and Statements from
   15                              Fund
   16                     PLTF_0012 – PLTF_25;
                         PLTF_0034 – PLTF_0035;
   17                    PLTF_0121 – FLTF_0129
   18         42.          *Insurance Policies
                             (Consolidated)
   19                  DEFS_41260 – DEFS_41330;
   20                  DEFS_41391 – DEFS_41452;
                       DEFS_41452 – DEFS_41494
   21
              43.           AS-400 Spreadsheet
   22                        DEFS 00042028
   23
              44.             50-Song Survey
   24                         DEFS 00042027
   25         45.      Table of New Titles Created in
   26                         AS400 by Year
                             DEFS_00042020
   27                     (Oppo. to MSJ-Ex. 26)
   28

                                               6             AMENDED JOINT EXHIBIT LIST
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     1        46.    Amounts of All Distributions 2011-
                                   2019
     2                      DEFS_00042640
     3                     (Joyce Blondell-57)

     4        47.      *Collections and Distribution
                     Summary for AFM & SAG-AFTRA
     5                  Intellectual Property Rights
     6                        Distribution Fund
                             DEFS_00041695 -
     7                        DEFS_00041699
                            (1/20/2021 Taub-10)
     8
              48.     AFM & SAG-AFTRA Intellectual
     9
                      Property Rights Distribution Fund
   10                 Royalty Distribution Comparisons
                              DEFS_00042430 -
   11                         DEFS_00042443
                             (Joyce Blondell-45)
   12
   13         49.     *Digital Performance Royalties –
                     Research Progression by Year, 2017
   14                               Goal
                              DEFS_00042525
   15                       (Joyce Blondell-50)
   16         50.    SR Unclaimed Status Report – Jan.
   17                             2017
                            DEFS_00042517
   18                      (Joyce Blondell-48)
   19
              51.      *Account Summary by Activity
   20                           Description
                             DEFS_00042338 -
   21                        DEFS_00042340
                            (Joyce Blondell-34)
   22
   23
   24 Fund Board of Trustees Meeting Minutes
   25         52.     *AFM & AFTRA Fund Trustees
                          Meeting, 3/29/2010
   26                      DEFS_00042165 -
                           DEFS_00042166
   27                     (Joyce Blondell-10)
   28

                                               7             AMENDED JOINT EXHIBIT LIST
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  1        53.     *Minutes Meeting of the Trustees
                      AFM & AFTRA Intellectual
  2                Property Rights Distribution Fund,
  3                            9/21/2011
                           DEFS_00042138 -
  4                         DEFS_00042139
                           (Joyce Blondell-8)
  5
           54.     *Minutes Meeting of the Trustees
  6
                      AFM & AFTRA Intellectual
  7                Property Rights Distribution Fund,
                               3/29/2012
  8                        DEFS_00042167 -
                           DEFS_00042170
  9                       (Joyce Blondell-11)
 10
           55.    6/4/2013 Board of Trustees Meeting
 11                            Minutes
                         DEFS_00040629A -
 12                       DEFS_00040632A
 13                          (Bouton-1)

 14        56.       12/12/2013 Board of Trustees
                           Meeting Minutes
 15                      DEFS_00040633A -
                          DEFS_00040636A
 16                          (Bouton-2)
 17
           57.       *AFM & SAG-AFTRA Fund
 18                  Trustees Meeting, 4/21/2014
                          DEFS_00042260
 19                      (Joyce Blondell-22)
 20
           58.     Minutes Meeting of the Trustees
 21               AFM & SAG-AFTRA Intellectual
                  Property Rights Distribution Fund
 22                           4/21/2014
                  DEFS_00042261-DEFS_00042265
 23                      (Joyce Blondell-23)
 24
           59.     *Minutes Meeting of the Trustees
 25                AFM & SAG-AFTRA Intellectual
                   Property Rights Distribution Fund
 26                            6/19/2014
 27                        DEFS_00042266 -
                           DEFS_00042267
 28                       (Joyce Blondell-24)

                                             8            AMENDED JOINT EXHIBIT LIST
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  1        60.        *Trustee Meeting Minutes
                              7/28/2014
  2                      DEFS 00040615A
  3
           61.      Minutes Meeting of the Trustees
  4                AFM & SAG-AFTRA Intellectual
                   Property Rights Distribution Fund
  5                            7/28/2014
                           DEFS_00042273 -
  6
                           DEFS_00042276
  7                       (Joyce Blondell-27)
  8        62.      Minutes Meeting of the Trustees
                   AFM & SAG-AFTRA Intellectual
  9                Property Rights Distribution Fund
 10                           10/20/2014
                           DEFS_00042291 -
 11                        DEFS_00042294
                          (Joyce Blondell-30)
 12
           63.    5/5/2015 Board of Trustees Meeting
 13
                               Minutes
 14                      DEFS_00040619A -
                          DEFS_00040623A
 15                          (Bouton-5)
 16        64.     *Meeting of the Trustees AFM &
 17               SAG-AFTRA Intellectual Property
                  Rights Distribution Fund 4/20/2016
 18                       DEFS_00042390 -
                          DEFS_00042395
 19                      (Joyce Blondell-38)
 20
           65.     Meeting of the Trustees AFM &
 21               SAG-AFTRA Intellectual Property
                  Rights Distribution Fund 7/19/2016
 22                       DEFS_00042396 -
                          DEFS_00042400
 23                      (Joyce Blondell-39)
 24
           66.     *Meeting of the Trustees AFM &
 25               SAG-AFTRA Intellectual Property
                      Rights Distribution Fund
 26                          10/13/2016
 27                         (LeBlanc-6)

 28

                                            9             AMENDED JOINT EXHIBIT LIST
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  1        67.     Meeting of the Trustees AFM &
                  SAG-AFTRA Intellectual Property
  2               Rights Distribution Fund 2/27/2017
  3                       DEFS_00042518 -
                          DEFS_00042524
  4                      (Joyce Blondell-49)
  5        68.     Meeting of the Trustees AFM &
                  SAG-AFTRA Intellectual Property
  6
                     Rights Distribution Fund
  7                         11/19/2018
                         DEFS_00042612 -
  8                      DEFS_00042617
                        (Joyce Blondell-52)
  9
 10
 11 Emails
 12        69.     *4/26/2010 Emails RE Session
                          Report Requests
 13               DEFS_00025103-DEFS_00025121
 14                         (Sandell-3)

 15        70.       *12/16/2010 Email chain RE
                           Session Request
 16                       DEFS_00021479 -
 17                       DEFS_00021484
                              (White-1)
 18
           71.      *2/15/2011 Emails RE Session
 19                          Requestion
                   DEFS_0002493- DEFS_00024936
 20                          (Sandell-4)
 21
           72.      *Email from S. Hoffman to D.
 22                   Dreith re Union services
                             10/24/2012
 23                       DEFS 00041251
 24
           73.     E-mail RE Hi Dennis and Jo-Anne
 25                 from Mikael in New York City
                               11/1/2012
 26                        DEFS_00042172 -
 27                        DEFS_00042173
                          (Joyce Blondell-13)
 28

                                           10             AMENDED JOINT EXHIBIT LIST
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  1        74.    December 27, 2012 Email Chain re
                      Data Purchase and Service
  2               Agreement – AFM & SAG-AFTRA
  3                             Fund
                         DEFS_00041705 -
  4                       DEFS_00041706
  5        75.     12/27/2012 Polach Email RE Data
                   Purchase and Services Agreement
  6
                          DEFS_00041341 -
  7                        DEFS_00041347
                             (2/24 Hair-2)
  8
           76.      1/25/2013 Emails RE Statement
  9                     Sena remuneration and
 10                  administrative cost percentage
                               1/25/2013
 11                       DEFS_00040117 -
                           DEFS_00040116
 12                       (Dreith Deposition)
 13        77.     5/30/2013 Email from Dreith RE
 14                        Updated Budget
                             5/30/2013
 15                       DEFS_00040122 -
                          DEFS_00040124
 16                      (Dreith Deposition)
 17
           78.    *6/28/2013 Email RE AFM&SAG-
 18                   AFTRA Fund distribution
                             docsa[sic]
 19                       DEFS_00040128 -
 20                       DEFS_00040136
                              (Joyce-2)
 21
           79.      *7/15/2013 Emails RE Session
 22                            Request
                          DEFS_00024821 -
 23                       DEFS_00024823
 24                          (Sandell-5)
 25        80.     9/7/2013 Email to Ray Hair, et al.,
                        from Dennis Dreith with
 26                          attachments
 27                        DEFS_00040158 -
                           DEFS_00040164
 28                           (Bouton-3)

                                             11           AMENDED JOINT EXHIBIT LIST
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  1        81.       9/7/2013 Replies to Email RE
                       Admin Letter/Service Fee
  2                            9/7/2013
  3                        DEFS_00040165
                          (Dreith Deposition)
  4
           82.       9/8/2013 Replies to Email RE
  5                    Admin Letter/Service Fee
                               9/8/2013
  6
                           DEFS_00040167
  7                       (Dreith Deposition)
  8      83.       9/8/2013 Joyce email response RE
                       Admin Letter/Service Fee
  9                       DEFS_00040166 -
 10                        DEFS_00040167
                               (Joyce-4)
 11
           84.     9/9/2013 Email RE Administrator
 12                         Compensation
 13                            9/9/2013
                           DEFS_00040179
 14                       (Dreith Deposition)
 15        85.    *E-mail string RE New logos – with
                           PDF attachments
 16                            9/12/2013
 17                       DEFS_00042205 -
                           DEFS_00042207
 18                      (Joyce Blondell-16)
 19        86.     9/14/2013 Email to Dennis Dreith
 20                       from Bruce Bouton
                          DEFS_00040172 -
 21                        DEFS_00040173
                              (Bouton-4)
 22
           87.     E-mail RE SR(DPR) Distribution
 23
                             Guidelines
 24                           9/26/2013
                          DEFS_00042219 -
 25                       DEFS_00042228
                         (Joyce Blondell-19)
 26
 27        88.    *10/1/2013 Email RE Administrator
                            Compensation
 28                        DEFS 00040182

                                           12             AMENDED JOINT EXHIBIT LIST
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  1                      (10/20/2020 Taub-4)
  2        89.       10/2/2013 Email response RE
  3                          Service Fee
                           DEFS_00040189
  4                      (10/20/2020 Taub-5)
  5        90.       12/19/2013 Joyce Email RE a
  6                         couple a things
                           DEFS_00040211
  7                           (Joyce-6)
  8        91.      Email from A. Pollard to Hair re
                    Hold the date. Broadcast Treaty
  9                   briefing on June 11, 2014
 10                           5/27/2014
                            DEFS 00041720
 11
           92.    Email from T. Shapiro to Crabtree-
 12                Ireland re ALAI Congress 17-20
 13               Sept 2014 Brussels -- Moral Rights
                          in the 21st Century
 14                            7/28/2014
                           DEFS_00041989
 15
           93.      Email from Workflow Mailer to
 16                  Crabtree-Ireland re Expense
 17                   PXRB2926 [Attachment:
                      Notification Detail.html]
 18                           10/6/2014
                           DEFS_00041988
 19
           94.    *10/18/2014 E-Mail Chain re “Dear
 20
                          Participant” Letter
 21                       DEFS_00040227 -
                          DEFS_00040229
 22                           (Carney-1)
 23        95.     *12/1/2015 Email RE Request for
 24                        Session Reports
                           DEFS_00010948
 25                           (White-2)
 26        96.        *Email from D. Dreith re A.
 27                 Begluyan re AFM SAG-AFTRA
                   Intellectual Ppty Rights Distrib Fd
 28                        (25-04009) FS Draft

                                             13           AMENDED JOINT EXHIBIT LIST
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  1                          1/22/2016
                           DEFS 00041255
  2
           97.     April 2016 Emails RE AFM 100th
  3
                              Convention
  4                        DEFS_00041332
                             (2/24 Hair-7)
  5
         98.      *Email from Heckman to Finnie re
  6
                   AFM Session Request for Chase
  7                   Bryant - Red Bow - 2014
                    [Attachment: Musician Report
  8                            Forms]
                              5/6/2016
  9                        DEFS 00028906
 10
           99.     *7/13/2016 Emails RE Request for
 11                        Session Reports
                          DEFS_00010934 -
 12                        DEFS_00010937
 13                           (White-3)

 14      100.     Email from D. Dreith to S. Hoffman
                  re Service Fee Memo [Attachments:
 15                 Serv Agreement summary.docx;
                      Service fee cover.docx; Data
 16                 Purchase and Service Agreement
 17                             2012.pdf]
                                1/2/2017
 18                         DEFS 00040500
 19      101.     Email from D. Dreith to S. Hoffman
 20                      re Service Fee Memo
                                 1/2/17
 21                         DEFS 00040516
 22      102.      Email from K. Tucker to D. Dreith
 23                         re Service Fees
                               1/4/2017
 24                         DEFS 00040544
 25      103.         Email from D. Dreith to D.
                    Crabtree-Ireland re Service Fees
 26                [Attachments: Data Purchase and
 27               Service Agreement 2012.pdf; Serv
                  Agreement summary.docx; Service
 28                         fee cover.docx]

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  1                          1/12/2017
                           DEFS 00040456
  2
         104.        *1/31/2018 Email RE Session
  3
                               Request
  4                        DEFS_00025912
                             (Sandell-6)
  5
         105.        *Email from K. Tucker to S.
  6
                    Hoffman and D. Dreith re AFM
  7                           2013 990
                              2/2/2017
  8                       DEFS 00040874
  9      106.        *2/9/2017 Email from Karina
 10                     Huerta to Kevin Risto
                             PLTF_0037
 11
         107.       *1/24/2018 Email RE Session
 12                           Request
 13               DEFS_00027914, DEFS_00027896
                            (Sandell-7)
 14
         108.            Email re Questions
 15                           6/2/2017
                          DEFS_00040609
 16                      (Dreith Deposition)
 17
         109.       Email from R. Rishik re AFM &
 18                      SAG-AFTRA FUND
 19                      Administrative Fees
                               6/3/2017
 20                        DEFS_00040610
                          (Dreith Deposition)
 21
         110.          7/21/2017 Email RE
 22                      Congratulations
 23                DREITH_0106 – DREITH_0108
                      (Oppo. to MSJ-Ex. 23)
 24
         111.        6/12/2018 Email re “Plaintive
 25                            Request”
 26                             6/12/18
                            DREITH_0136
 27                       (Dreith Deposition)
 28

                                            15            AMENDED JOINT EXHIBIT LIST
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  1         112.   *Email from Reese to Creighton re
                    SAG-AFTRA Session Report -
  2                   Elton John - I'm Your Man
  3                  [Attachment: Session Report]
                              9/13/2018
  4                         DEFS 00014853
  5         113.     5/14/2019 Email from Bruce
                   Waynne to Kevin Risto re: Discog
  6
                   credits on Get Rich or Die Tryin
  7                           PLTF_0117
  8         114.   5/24/2019 email RE Expense PXR
                               129279
  9                       DEFS_00041015 -
 10                        DEFS_00041017
                         (10/20/2020 Taub-6)
 11
            115.   6/10/2019 Email from Sidney White
 12                 to Bruce Waynne re: data available
 13                             to Fund
                        PLTF_0118 - PLTF_0119
 14
            116.       *Email from S. Hoffman to
 15                  ljhirsc@yahoo.com FW: Quick
                                 Update
 16                             3/4/2021
 17                         HOFFMAN 0063
 18         117.    Dreith Email to “Steve” re media
                           coverage of lawsuit
 19                          DRIETH 0032
 20                        (Dreith Deposition)

 21         118.       Email from Dreith to Neil
                      Stubenhaus re FB Blog Piece
 22                         DRIETH 0175
 23         119.     *Emails RE Session Reports
 24                DEFS_00024887, DEFS_00015502,
                   DEFS_00017045, DEFS_00018779,
 25                DEFS_00019595, DEFS_00019903,
                          DEFS_00024966
 26                     (Oppo. to MSJ-Ex. 19)
 27
 28   ///

                                             16           AMENDED JOINT EXHIBIT LIST
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  1         120.      Emails RE Session Reports
                   DEFS 00020594, DEFS 00020119,
  2                DEFS 00011479, DEFS 0024971,
  3                DEFS 00014583, DEFS 00034555,
                    DEFS 00021479, DEF 00028917
  4
            121.           *Kermit Emails
  5                       DEFS_00013640 -
                   DEFS_00013654; DEFS_00013656
  6
                   - DEFS_13670; DEFS_00013672 –
  7                 DEFS_13686; DEFS_00013688 –
                    DEFS_13702; DEFS_00026304 -
  8                 DEFS_26318; DEFS_00026321 -
                            DEFS_26335
  9                     (Oppo. to MSJ-Ex. 21)
 10
 11
 12 Website Documents
 13         122.     *LinkedIn Profile of Kristina
                             Gorbacsov
 14                        (Gorbacsov-2)
 15         123.   *9/11/2017 “SAG-AFTRA is Your
 16                  Voice in Music – Meet SAG-
                     AFTRA’s Music Department)
 17                         (Gorbacsov-3)
 18         124.     Secretary of State Articles of
 19                 Incorporation for Transparence
                       Entertainment Group Inc.
 20                             11/8/17
                         (Dreith Deposition)
 21
            125.     *LinkedIn Profile of Jennifer
 22
                              LeBlanc
 23                         (LeBlanc-1)
 24         126.    *IRS Instructions for Schedule L
                     (Form 990 or 990-EZ) (2019)
 25                           (LeBlanc-5)
 26
 27 / / /
 28 / / /

                                            17            AMENDED JOINT EXHIBIT LIST
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  1 Letters
  2      127.      May 7, 2009 Letter from Dennis
                  Dreith, Kim Roberts Hedgpeth and
  3                Thomas Lee to SoundExchange
  4                       Executive Director
                           DEFS_00042019
  5
         128.      *4/15/2010 Dear Participant Letter
  6                             (Draft)
                              4/15//2010
  7
                          DEFS_00040777 -
  8                        DEFS_00040778
                          (Dreith Deposition)
  9
         129.      10/15/2012 Dear Participant Letter
 10                       DEFS_00040779 -
 11                        DEFS_00040780
                              10/15/2012
 12                       (Dreith Deposition)
 13      130.      *9/30/2013 Dear Participant Letter
 14                       DEFS_00040781 -
                           DEFS_00040784
 15                       (1/20/2021 Taub-8)
 16      131.        Letter from J. Smith and B.
                   Machuel to Hair re Rome meeting
 17                           6/25/2014
 18                       DEFS_00041722
 19      132.       Letter from Hair to Gagliardi re
                      Belgrade SCAPR meetings
 20                            3/5/2015
 21                         DEFS_00041728
 22      133.     Letter from Hirschfeld Kramer LLP
 23                        re April 20 Meeting
                                5/9/2016
 24                          DREITH_0003
                           (Dreith Deposition)
 25
         134.        *Letter from K. Muller to S.
 26                  Hoffman re April 20 Meeting
 27                            5/9/2016
                          HOFFMAN 0001
 28

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  1         135.      Pre-Interview Information for
                             Potential Clients
  2                               5/7/17
  3                        (Dreith Deposition)

  4         136.      *2/8/2019 Letter from Ruben
                         Rivera to Colin Gilbert
  5                           PLTF_0031
  6
  7
  8 Pleadings & Discovery
  9         137.       First Amended Complaint
                              11/20/2018
 10
 11         138.    *Declaration of Stefanie Taub in
                   Support of Defendants’ Opposition
 12                  to Plaintiff’s Motion for Class
                              Certification
 13                             DKT. 68-1
 14                             (Joyce-1)

 15         139.    *Declaration of Stefanie Taub in
                    support of Notice of Motion and
 16                 Motion for Summary Judgment
                               DKT. 107
 17
 18         140.   *Declaration of Duncan Crabtree-
                    Ireland in support of Notice of
 19                Motion and Motion for Summary
                               Judgment
 20                            DKT. 105
 21
            141.   *Declaration of Ray Hair in support
 22                of Notice of Motion and Motion for
                           Summary Judgment
 23                             DKT. 106
 24         142.    *Declaration of Julie Sandell in
 25                 support of Notice of Motion and
                    Motion for Summary Judgment
 26                            DKT. 108
 27
 28 / / /

                                             19           AMENDED JOINT EXHIBIT LIST
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  1      143.      Declaration of Andrew Sullivan in
                    support of Notice of Motion and
  2                 Motion for Summary Judgment
  3                            DKT. 109

  4      144.       *Responses of Defendant Bruce
                    Bouton to Plaintiff’s First Set of
  5                         Interrogatories
                              (Bouton-6)
  6
  7      145.         *AMENDED Responses of
                      Defendant Bruce Bouton to
  8                     Plaintiff's First Set of
                           Interrogatories
  9
 10      146.      *Responses of Defendant Duncan
                   Crabtree-Ireland to Plaintiff's First
 11                      Set of Interrogatories
 12      147.        *AMENDED Responses of
 13               Defendant Duncan Crabtree-Ireland
                       to Plaintiff's First Set of
 14                         Interrogatories
 15      148.       *Responses of Defendant Tino
                   Gagliardi to Plaintiff’s First Set of
 16                          Interrogatories
 17                           (Gagliardi-1)
 18      149.         *AMENDED Responses of
 19                   Defendant Tino Gagliardi to
                         Plaintiff’s First Set of
 20                         Interrogatories
 21      150.       *Responses and Objections of
 22                SAG-AFTRA to Plaintiff's Notice
                     of Taking of Rule 30(B)(6)
 23                  Deposition and Requests for
                      Production of Documents
 24                        (Gorbacsov-1)
 25      151.       *Responses of Defendant Screen
 26                Actors Guild-American Federation
                   of Television and Radio Artists to
 27                      Plaintiff's First Set of
                             Interrogatories
 28

                                               20          AMENDED JOINT EXHIBIT LIST
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  1                          (Gorbacsov-5)
  2      152.     *AMENDED Responses of Screen
  3               Actors Guild-American Federation
                  of Television and Radio Artists to
  4                     Plaintiff's First Set of
                            Interrogatories
  5
         153.     *Responses of Defendant Raymond
  6
                    Hair to Plaintiff's First Set of
  7                        Interrogatories
                            (2/24 Hair-8)
  8
         154.        *AMENDED Responses of
  9
                         Defendant Raymond
 10                  Hair to Plaintiff's First Set of
                            Interrogatories
 11
         155.     *Responses of Defendant Jon Joyce
 12
                       to Plaintiff's First Set of
 13                         Interrogatories
 14      156.        *AMENDED Responses of
 15                Defendant Jon Joyce to Plaintiff's
                      First Set of Interrogatories
 16
         157.        *Defendants’ Responses and
 17               Objections to Plaintiffs’ First Set of
                            Interrogatories
 18                       DEFS_00042057 -
 19                        DEFS_00042097
                          (Joyce Blondell-3)
 20
         158.        *Defendants’ Responses and
 21               Objections to Interrogatories Nos. 7
 22                              and 8
                          DEFS_00042098 -
 23                        DEFS_00042107
                          (Joyce Blondell-4)
 24
         159.     *Responses and Objections of AFM
 25
                   to Plaintiff's Notice of Taking of
 26                          Rule 30(b)(6)
                     Deposition and Requests for
 27                    Production of Documents
                              (Painting-1)
 28

                                              21           AMENDED JOINT EXHIBIT LIST
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  1      160.     *Responses of Defendant American
                      Federation of Musicians to
  2                     Plaintiff's First Set of
  3                        Interrogatories
                             (Painting-4)
  4
         161.         *AMENDED Responses of
  5                Defendant American Federation of
                   Musicians to Plaintiff's First Set of
  6
                            Interrogatories
  7
         162.      *Responses of Defendant Stefanie
  8                  Taub to Plaintiff’s First Set of
  9                         Interrogatories
                         (10/20/2020 Taub-2)
 10
         163.         *AMENDED Responses of
 11                   Defendant Stefanie Taub to
 12                     Plaintiff's First Set of
                           Interrogatories
 13
         164.      *Responses and Objections of the
 14               AFM and SAG-AFTRA Intellectual
 15                  Property Distribution Fund to
                  Plaintiff’s Subpoena and Notice of
 16               Taking Deposition and Requests for
                       Production of Documents
 17                       (1/20/2021 Taub-1)
 18      165.     *Plaintiff Kevin Risto’s Responses
 19                  to First Set of Interrogatories
                                7/5/2019
 20
         166.     *Plaintiff Kevin Risto’s Responses
 21                   to First Set of Requests for
 22                            Production
                                7/5/2019
 23
         167.     *Plaintiff Kevin Risto’s Responses
 24                to Second Set of Interrogatories
 25                            2/12/2021

 26      168.          Blondell Second Amended
                              Complaint
 27                             2/7/2018
 28

                                              22           AMENDED JOINT EXHIBIT LIST
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  1         169.   Blondell Order Granting Motion for
                               Settlement
  2                           10/30/2020
  3
  4
      Financial Statements
  5
            170.     *2010 Form 990 for AFM and
  6                AFTRA Intellectual Property Rights
                           Distribution Fund
  7                       DEFS_00042110 -
  8                       DEFS_00042136
                          (Joyce Blondell-6)
  9
            171.     *2011 Form 990 for AFM and
 10                AFTRA Intellectual Property Rights
                           Distribution Fund
 11                       DEFS_00042140 -
 12                        DEFS_00042164
                          (Joyce Blondell-9)
 13
            172.   *2013 Form 990 for AFM & SAG-
 14                AFTRA Intellectual Property Rights
 15                        Distribution Fund
                          DEFS_00040241 -
 16                        DEFS_00040265
                       (2/16 Crabtree-Ireland-4)
 17
            173.   *2013 Amended Form 990 for AFM
 18                    & SAG-AFTRA Intellectual
 19                 Property Rights Distribution Fund
                        UPDATE filed 2/15/2016
 20                        DEFS_00041753 -
                            DEFS_00041792
 21                     (2/16 Crabtree-Ireland-5)
 22
            174.   *AFM & SAG-AFTRA Intellectual
 23                 Property Rights Distribution Fund
                     Financial Statements, March 31,
 24                            2014 & 2013
 25                   MKA 000065 - MKA 000081
                           (1/20/2021 Taub-9)
 26
 27 / / /
 28 / / /

                                            23            AMENDED JOINT EXHIBIT LIST
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  1         175.      *2014 Form 990 - Return of
                   Organization Exempt from Income
  2                              Tax
  3                AFM & SAG-AFTRA Intellectual
                   Property Rights Distribution Fund
  4                            8/8/2016
                           DEFS_00040300
  5
            176.      *2015 Form 990 - Return of
  6
                   Organization Exempt from Income
  7                              Tax
                   AFM & SAG-AFTRA Intellectual
  8                Property Rights Distribution Fund
                               8/8/2016
  9                        DEFS 00040300
 10
            177.   *2015 Form 8879-EO for AFM &
 11                SAG-AFTRA Intellectual Property
                       Rights Distribution Fund
 12                       DEFS_00042344 -
 13                       DEFS_00042386
                         (Joyce Blondell-36)
 14
            178.   *AFM & SAG-AFTRA Intellectual
 15                 Property Rights Distribution Fund
                   Consolidated Financial Statements
 16                            3/31/2015
 17                        DEFS_00000032 -
                            DEFS_00000047
 18                        (Dreith Deposition)
 19         179.   *2016 Form 990 for AFM & SAG-
 20                AFTRA Intellectual Property Rights
                           Distribution Fund
 21                        DEFS_00042444 -
                           DEFS_00042473
 22                       (Joyce Blondell-46)
 23         180.   *Consolidated Financial Statements
 24                         March 31, 2016
                               2/27/2017
 25                        DEFS_00000065
 26
 27 / / /
 28 / / /

                                            24            AMENDED JOINT EXHIBIT LIST
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  1         181.       *2016 Form 990 - Return of
                    Organization Exempt from Income
  2                               Tax
  3                 AFM & SAG-AFTRA Intellectual
                    Property Rights Distribution Fund
  4                             8/2/2018
                            DEFS_00040680
  5
            182.       *2017 Form 990 - Return of
  6
                    Organization Exempt from Income
  7                                Tax
                    AFM & SAG-AFTRA Intellectual
  8                 Property Rights Distribution Fund
                                2/14/2019
  9                         DEFS_00040736
 10
            183.       *2018 Form 990 - Return of
 11                 Organization Exempt from Income
                                   Tax
 12                 AFM & SAG-AFTRA Intellectual
 13                 Property Rights Distribution Fund
                                2/10/2020
 14                         DEFS_00041650
 15         184.   *Consolidated Financial Statements
                       March 31, 2018 and 2017
 16                            4/3/2019
 17                        DEFS_00000048

 18         185.   *Consolidated Financial Statements
                             March 31, 2019
 19                 https://www.afmsagaftrafund.org/
 20                      Our-Annual-Report.php
 21
 22 Miscellaneous
 23         186.      *S. Hoffman Meeting Notes
 24                  (Meeting with Duncan Crabtree
                            Ireland - 8/7/17)
 25                        HOFFMAN 0033
 26
 27 / / /
 28 / / /

                                            25            AMENDED JOINT EXHIBIT LIST
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  1         187.    Chart Showing SoundExchange
                           Board of Trustees
  2
                                 2021
  3                   www.soundexchange.com/
                   about/our-team/board-of-directors/
  4
  5         188.         Taub Deposition Notes
  6                        DEFS_00041810 -
                           DEFS_00041814
  7
            189.         Hair Deposition Notes
  8
                          DEFS_00042024 -
  9                        DEFS_00042426
 10
            190.     Notes re: 2013 to 2020 income
 11
                       revenue for SAG-AFTRA
 12                   (Duncan Deposition Notes)
 13                       DEFS_00042021-23
                       (2/17 Crabtree-Ireland-3)
 14
 15         191.     In re Determination of Royalty
                     Rates and Terms for Ephemeral
 16                Recording and Digital Performance
 17                 of Sound Recordings (WEB IV),
                   Testimony of Raymond M. Hair, Jr.,
 18                  Docket No. 14-CRB-0001-WR
 19                           (2016-2020)
 20         192.      Full Committee Hearing on
 21                   Assessing the Impact of the
                      Copyright Royalty Rates on
 22                Recording Artists and Webcasters,
 23                  Committee on Small Business
                         United States House of
 24                  Representatives, One Hundred
 25                Tenth Congress, First Session, June
                    28, 2007, Serial Number 110-33
 26
 27
 28 / / /

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  1      193.     Digital Performance Right in Sound
                      Recordings and Ephemeral
  2
                  Recordings, Final Rule and Order,
  3                  72 FR 240844, May 1, 2007
  4
         194.           In the Matter of Digital
  5                   Performance Right in Sound
  6                    Recordings and Ephemeral
                    Recordings, Docket No. 2005-1
  7                CRB DTRA, Testimony of Barrie
  8               L. Kessler, Chief Operating Officer,
                  SoundExchange, Inc., October 2005
  9
         195.       In the Matter of Adjustment of
 10
                   Rates and Terms for Preexisting
 11               Subscription Services and Satellite
 12                 Digital Audio Radio Services,
                  Docket No. 2006-1 CRB DSTRA,
 13               Testimony of Barrie Kessler, Chief
 14                   Operating Officer of Sound
                     Exchange Inc., October 2006
 15
 16      196.           In the Matter of Digital
                      Performance Right in Sound
 17                    Recordings and Ephemeral
 18                 Recordings, Docket No. 2005-1
                    CRB DTRA, Hearing Transcript
 19                June 6, 2006, Testimony of Barrie
 20                             Kessler
 21
 22
 23 Expert Related Documents
 24      197.        David Nolte Curriculum Vitae
                              (Nolte-1)
 25
         198.       Fulcrum Financial Inquiry LLP
 26
                              Invoices
 27                      NOLTE00000001 -
                          NOLTE00000009;
 28

                                            27            AMENDED JOINT EXHIBIT LIST
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  1                        NOLTE00001228 -
                           NOLTE00001229
  2                           (Nolte-2)
  3
            199.       Fulcrum Inquiry Retention
  4                           Agreement
                         NOLTE000000010 -
  5                       NOLTE000000016
                               (Nolte-3)
  6
  7         200.       Nolte Expert Report [Rule
                              26(a)(2)(B)]
  8                            (Nolte-4)
  9         201.      “Steps in Valuing Intellectual
 10                   Property” by Fulcrum Inquiry
                                (Nolte-5)
 11
            202.    *Adams Rebuttal Expert Report
 12
            203.   *Curriculum Vitae of Kerry Adams
 13
                              (Adams-1)
 14
            204.    Excel Sheet – Review of Foreign
 15                  CMO: Costs and Data Sources
 16                           (Adams-2)

 17         205.        Bookman Expert Report
 18         206.      Curriculum Vitae of Mark A.
                               Bookman
 19                          (Bookman-1)
 20
            207.   Table: Service Fee as Percentage of
 21                   Fund’s Administrative Cost
                              (Bookman-2)
 22
            208.    Tables: Service Fee as Percentage
 23
                       of Net Income for Unions
 24                           (Bookman-3)
 25         209.   *Conflict of Interest Policy [Model]
 26                           (Bookman-4)

 27
 28 / / /

                                             28           AMENDED JOINT EXHIBIT LIST
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  1         210.    *PowerPoint Presentation: Legal
                     Duties -- Orientation for Tax-
  2                   Exempt Board of Directors
  3                          (Bookman-5)

  4         211.        Bookman Rebuttal Report
  5         212.         Kessler Rebuttal Report
  6
            213.          *Curriculum Vitae of
  7                           (Kessler-1)
  8         214.       Kessler Report Table: Fund
  9                        Researcher Hours
                              (Kessler-T1)
 10
            215.     *Nolte Report Table: Royalties
 11                      Received by the Fund
                              (Nolte-T1)
 12
 13         216.     *Nolte Report Table: Fund’s
                   payment to Unions under the 2013
 14                           Agreement
                              (Nolte-T2)
 15
 16         217.    *Nolte Report Table: The Fund’s
                   royalties and payable to participants
 17                             (Nolte-T3)
 18         218.   *Nolte Report Table: “Unclaimed”
 19                          participants
                              (Nolte-T4)
 20
            219.   Nolte Report Table: Count of Union
 21                     vs. non-union participants
 22                            (Nolte-T5)

 23         220.     Nolte Report Table: New titles
                     created in the Fund’s database
 24                            (Nolte-T8)
 25
 26 / / /
 27 / / /
 28 / / /

                                              29           AMENDED JOINT EXHIBIT LIST
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  1 Union Documents
  2       221.    SAG-AFTRA Constitution, October
                              2, 2015
  3                   (2/17 Crabtree-Ireland-1)
  4       222.       AFM Copyright Highlights &
  5                      Advocacy Efforts
                        DEFS_00042024 -
  6                      DEFS_00042026
                           (2/25 Hair-1)
  7
          223.        Bylaws of the Amer. Fed. of
  8                   Musicians of US and Canada
  9                       Revised 9/15/2019
                             (2/25 Hair-2)
 10
 11
      Reserved
 12
        224-240   [RESERVED FOR DEFEDANTS]
 13
 14       241      LinkedIn Profile of Tino Gagliardi
 15       242         Responses and Objections of
                       Defendant Bruce Bouton to
 16                Plaintiff’s First Set of Requests for
 17                             Admission
                                 2/21/2021
 18
          243         Responses and Objections of
 19               Defendant Duncan Crabtree-Ireland
 20                to Plaintiff’s First Set of Requests
                              for Admission
 21                             2/21/2021
 22       244         Responses and Objections of
                      Defendant Tino Gagliardi to
 23                Plaintiff’s First Set of Requests for
 24                             Admission
                                 2/21/2021
 25
          245         Responses and Objections of
 26                  Defendant Ray M. Hair, Jr. to
 27                Plaintiff’s First Set of Requests for
                                Admission
 28                              2/21/2021

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  1         246      Responses and Objections of
                   Defendant Jon Joyce to Plaintiff’s
  2               First Set of Requests for Admission
  3                             2/21/2021

  4         247       Responses and Objections of
                       Defendant Stefanie Taub to
  5                Plaintiff’s First Set of Requests for
  6                             Admission
                                 2/21/2021
  7
            248      Responses and Objections of
  8                Defendant AFM to Plaintiff’s First
  9                 Set of Requests for Admission
                              2/21/2021
 10
            249       Responses and Objections of
 11                    Defendant SAG-AFTRA to
 12                Plaintiff’s First Set of Requests for
                                Admission
 13                              2/21/2021
 14     250-270    [RESERVED FOR PLAINTIFF]
 15
 16 / / /
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